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 8                         UNITED STATES DISTRICT COURT
 9                FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                                WESTERN DIVISION
11
12    SHOWTIME NETWORKS INC.,                  CASE NO. 2:17-CV-06041-AB (KS)
13                Plaintiff,
14          v.                               [PROPOSED] TEMPORARY
                                             RESTRAINING ORDER AND
15    JOHN DOE 1 d/b/a Kopa Mayweather       ORDER TO SHOW CAUSE WHY A
16    d/b/a <Livestreamhdq.com>;             PRELIMINARY INJUNCTION
      <mayweathervsmcgregor.livestreamhdq.c SHOULD NOT ISSUE
17    om>;
18    <mayweathermcgregor.livestreamhdq.co
      m>;
19    <mcgregorvsmayweather.livestreamhdq.c
20    om>; and JOHN DOE 2 d/b/a Mickel
      Edwards d/b/a
21    <Floydmayweatherconormcgregor.us>;
22    <Floydmayweathervsconormcgregorfight.
      us>;<Floydmayweathervsmcgregor.us>;<
23    Mayweathermcgregorfight.us>;<Mayweat
24    hermcgregorlivefight.us>;<Mayweathervs
      conorlive.us>;<Mayweathervsconormcgre
25    gorlive.us><Mayweathervsmcgregor.us>;
26    <Mayweathervsmcgregor2017live.us>;<
      Mayweathervsmcgregorboxing.us>;<May
27    weathervsmcgregorbuytickets.us>;<May
28    weathervs-

      [PROPOSED] TEMPORARY RESTRAINING ORDER                                -1-
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 1    mcgregorlive.us>;<Mayweather-vs-
 2    mcgregorlive.us>;<Mayweather-vs-
      mcgregor-live.us>;
 3    <Mayweathervsmcgregorliveboxing.us>;
 4    <Mayweathervsmcgregorlive-
      boxing.us>;<Mayweathervsmcgregorlive-
 5    fight.us>;<Mayweathervsmcgregorlive-
 6    online.us>;<Mayweathervsmcgregorlive-
      ppv.us>;<Mayweathervsmcgregor-live-
 7    stream.us>;<Mayweathervs-
 8    mcgregorlivestream.us>;<Mayweathervs-
      mcgregorlive-stream.us>; <Mayweather-
 9    vs-mcgregorlivestream.us>;
10    <Mayweathervs-
      mcgregorlivestreaming.us>;<Mayweather
11    -vs-mcgregorlivestreaming.us>;
12    <Mayweathervsmcgregorppvbuys.us>;
      <Mayweathevsrmcgregorppvfight.us>;
13    <Mcgregorvsfloydmayweather.us>;
14    <Mcgregorvsmayweatherppvfight.us>;
      <Watchconormcgregorfightonline.us>;
15    <Watchmayweathervsmcgregorlive.us>;
16    <Watchmayweathervsmcgregorlivestream
      .us>;<Watchmayweathevsrmcgregorlivefi
17    ght.us>;<Watchmayweathevsrmcgregorp
18    pvfight.us>;<Watchmcgregorvsmayweath
      er.us>;<Watchmcgregorvsmayweatherliv
19    e.us>;
20    <Watchmcgregorvsmayweatherlivestream
      .us>; <mayweathervs-mcgregor.us>;
21    <mayweathervsmcgregorliveonline.us>;
22    <mayweathervsmcgregorliveppv.us>;
      <mayweathervsmcgregorlivestream.us>;
23    and <mayweathervmcgregorppvbuys.us>
24    and JOHN DOES 3-10 inclusive,
25
                  Defendants.
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27
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      [PROPOSED] TEMPORARY RESTRAINING ORDER                                -2-
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 1          This matter came before the Court on the ex parte application for a Temporary
 2    Restraining Order and to Show Cause why a Preliminary Injunction Should not Issue,
 3    filed by plaintiff Showtime Networks Inc. (“Plaintiff”). The Court has considered the
 4    papers submitted by Plaintiff and, finding good cause, hereby GRANTS Plaintiff’s
 5    application.
 6          The Court finds that Plaintiff has satisfied the requirements for a temporary
 7    restraining order and an order to show cause why a preliminary injunction should not
 8    issue. Plaintiff has established that it is likely to succeed on the merits of its claims.
 9    Plaintiff has established that it owns the exclusive rights to, among other things,
10    reproduce and distribute the coverage of the August 26, 2017, fight between Floyd
11    Mayweather, Jr. and Conor McGregor, including the three undercard bouts
12    (altogether, the “Coverage”) within the United States and Canada. Plaintiff properly
13    served Defendants with the Advance Notice of Potential Infringement required by 17
14    U.S.C. § 411(c) and 37 C.F.R. § 201.22 more than forty-eight hours before the
15    August 26, 2017, fight, and Plaintiff intends to register the copyright in the Coverage
16    with the United States Copyright Office within three months after August 26, 2017.
17    The Coverage will be protected under the Copyright Act as it is fixed in a tangible
18    medium of expression simultaneously with its initial transmission.
19          Plaintiff has presented compelling evidence that Defendants intend to provide
20    an unauthorized stream of the Coverage through the following LiveStreamHDQ
21    Websites and .US Affiliate Websites (as identified in the Complaint and evidenced by
22    the Declaration of Robert Brasich (the “Brasich Decl.”)):
23                     (1)    <Mayweathervsmcgregor.livestreamhdq.com>;
24                     (2)    <Mayweathermcgregor.livestreamhdq.com>;
25                     (3)    <Mcgregorvsmayweather.livestreamhdq.com>;
26                     (4)    <Floydmayweatherconormcgregor.us>;
27                     (5)    <Floydmayweathervsconormcgregorfight.us>;
28                     (6)    <Floydmayweathervsmcgregor.us>;

      [PROPOSED] TEMPORARY RESTRAINING ORDER                                            -3-
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 1                   (7)   <Mayweathermcgregorfight.us>;
 2                   (8)   <Mayweathermcgregorlivefight.us>;
 3                   (9)   <Mayweathervsconorlive.us>;
 4                   (10) <Mayweathervsconormcgregorlive.us>;
 5                   (11) <Mayweathervsmcgregor2017live.us>;
 6                   (12) <Mayweathervsmcgregorboxing.us>;
 7                   (13) <Mayweathervsmcgregorbuytickets.us>;
 8                   (14) <Mayweathervs-mcgregorlive.us>;
 9                   (15) <Mayweather-vs-mcgregorlive.us>;
10                   (16) <Mayweather-vs-mcgregor-live.us>;
11                   (17) <Mayweathervsmcgregorliveboxing.us>;
12                   (18) <Mayweathervsmcgregorlive-boxing.us>;
13                   (19) <Mayweathervsmcgregorlive-fight.us>;
14                   (20) <Mayweathervsmcgregorlive-online.us>;
15                   (21) <Mayweathervsmcgregorlive-ppv.us>;
16                   (22) <Mayweathervsmcgregor-live-stream.us>;
17                   (23) <Mayweathervs-mcgregorlivestream.us>;
18                   (24) <Mayweathervs-mcgregorlive-stream.us>;
19                   (25) <Mayweather-vs-mcgregorlivestream.us>;
20                   (26) <Mayweathervs-mcgregorlivestreaming.us>;
21                   (27) <Mayweather-vs-mcgregorlivestreaming.us>;
22                   (28) <Mayweathervsmcgregorppvbuys.us>;
23                   (29) <Mayweathevsrmcgregorppvfight.us>;
24                   (30) <Mcgregorvsfloydmayweather.us>;
25                   (31) <Mcgregorvsmayweatherppvfight.us>;
26                   (32) <Watchconormcgregorfightonline.us>;
27                   (33) <Watchmayweathervsmcgregorlive.us>;
28                   (34) <Watchmayweathervsmcgregorlivestream.us>;

      [PROPOSED] TEMPORARY RESTRAINING ORDER                                -4-
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 1                     (35) <Watchmayweathevsrmcgregorlivefight.us>;
 2                     (36) <Watchmayweathevsrmcgregorppvfight.us>;
 3                     (37) <Watchmcgregorvsmayweather.us>;
 4                     (38) <Watchmcgregorvsmayweatherlive.us>;
 5                     (39) <Watchmcgregorvsmayweatherlivestream.us>;
 6                     (40) <mayweathervs-mcgregor.us>;
 7                     (41) <Mayweathervsmcgregorliveonline.us>;
 8                     (42) <Mayweathervsmcgregorliveppv.us>;
 9                     (43) <Mayweathervsmcgregorlivestream.us>; and
10                     (44) <Mayweathervmcgregorppvbuys.us>.
11          Plaintiff, through the Brasich Decl., has presented screen shots in which
12    Defendants represent that they intend to provide an unauthorized online stream of the
13    live Coverage as it is initially transmitted. Defendants have not complied with
14    Plaintiff’s demands that they remove references to the anticipated infringement and
15    refrain from streaming Coverage of the Fight, nor have they responded to Plaintiff’s
16    Advance Notice of Potential Infringement. Even if the Defendants were to halt their
17    promotion of their unauthorized live stream by temporarily shutting down their
18    network of sites, these sites could be reactivated minutes before the Fight begins,
19    leaving Plaintiff with no remedy until after the damage has been done. If Defendants
20    were to proceed with their anticipated unauthorized stream of the Coverage, they
21    would violate exclusive rights owned by Plaintiff under the Copyright Act, including
22    without limitation the exclusive rights of reproduction and public performance.
23          Plaintiff has established that it will suffer irreparable harm in the absence of
24    immediate relief. Among other things, Defendants’ threatened infringement would
25    strip Plaintiff of the critical right of first transmission and publication of an extremely
26    valuable live sporting event, would interfere with Plaintiff’s relationships with third
27    parties, is likely to damage Plaintiff’s goodwill among consumers, and will deprive
28    Plaintiff of revenue that will be difficult or impossible to calculate, but is likely far in

      [PROPOSED] TEMPORARY RESTRAINING ORDER                                            -5-
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 1    excess of any amount that Defendants could repay to Plaintiff in damages even if the
 2    amount could be calculated.
 3          The balance of equities also tips sharply in Plaintiff’s favor. The Court is not
 4    aware of any legitimate interest of Defendants that would be damaged by Plaintiff’s
 5    requested injunction.
 6          An injunction is also in the public interest because it will effectuate the policy
 7    and purpose of the Copyright Act to protect intellectual property rights and to
 8    incentivize the creation of copyrightable works.
 9          The Court finds that no bond is required in this case because there is no
10    realistic likelihood that Defendants will be harmed by Plaintiff’s requested injunction.
11          The Court also finds that ex parte relief is appropriate in this case because
12    Plaintiff has acted expeditiously and has established that it will suffer irreparable
13    harm if its application is heard on the normal motion calendar. Plaintiff also gave
14    Defendants notice of this application, providing them an opportunity to be heard.
15          Accordingly, the Court, pursuant to 17 U.S.C. §§ 502 and 512(j) and the
16    Court’s equitable powers, hereby ORDERS as follows:
17          1.      Each and every one of the Defendants and their agents, servants,
18    employees, officers, attorneys, successors, licensees, partners, and assigns and all
19    other persons who receive actual notice of this Order and who are in active concert or
20    participation with any of them, are temporarily restrained and enjoined from:
21               a. making the Fight available for viewing by others by knowingly hosting,
22                  distributing, reproducing, performing, selling, offering for sale, making
23                  available for download, streaming or making any other use of the
24                  Coverage or any portion thereof;
25               b. taking any action that induces, causes or materially contributes to the
26                  direct infringement of Plaintiff’s rights in the Coverage by any third
27                  party, including without limitation knowingly hosting, distributing,
28                  reproducing, performing, selling, offering for sale, making available for

      [PROPOSED] TEMPORARY RESTRAINING ORDER                                          -6-
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 1                  download, streaming or making any other use of the Coverage or any
 2                  portion thereof;
 3               c. otherwise infringing Plaintiff’s copyright in the Coverage in any manner,
 4                  whether directly, contributorily, vicariously or in any other way; and
 5               d. transferring or performing any function that results in the transfer of the
 6                  registration of the LiveStreamHDQ website or .US Affiliate Websites to
 7                  any other registrant or registrar.
 8          2.      It is further ordered that Defendants and each of them, including without
 9    limitation their agents, servants, employees, officers, attorneys, successors, licensees,
10    partners, and assigns and all other persons who receive actual notice of this Order and
11    who are in active concert or participation with any of them are temporarily restrained
12    and enjoined from effecting assignments or transfers, forming new entities or
13    associations or utilizing any other device for the purpose of circumventing or
14    otherwise avoiding the prohibitions set forth herein.
15          3.      This temporary restraining order is issued and effective as of 5:00 p.m.
16    Pacific Time on August 18, 2017 and will expire at 10:00 a.m. Pacific Time on
17    August 28, 2017.
18          4.      Plaintiff is not required to post any bond prior to the issuance of this
19    temporary restraining order.
20          5.      Defendants and each of them must show cause why the terms of this
21    Temporary Restraining Order set forth in Paragraphs 1 through 3 above should not be
22    entered as a preliminary injunction. For purposes of this Order to Show Cause, the
23    Court construes Plaintiff’s application as a motion for entry of a preliminary
24    injunction, and hereby sets a hearing on Plaintiff’s motion on August 28, 2017 at
25    10:00 a.m. Pacific Time. Any opposition to Plaintiff’s motion must be filed and
26    served on all parties no later than 12:00 p.m. Pacific Time on August 24, 2017.
27    Plaintiff shall file its reply to any opposition no later than 5:00 p.m. Pacific Time on
28    August 25, 2017.

      [PROPOSED] TEMPORARY RESTRAINING ORDER                                           -7-
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 1          6.     No later than 12:00 p.m. Pacific Time on August 21, 2017, Plaintiff shall
 2    give each of the Defendants notice of this Order by electronic mail and overnight
 3    delivery to the same addresses Plaintiff used to serve the Advance Notice of Potential
 4    Infringement. Plaintiff’s obligations under this Paragraph 6 shall be satisfied once
 5    the email notices have been sent and the hard copy notices have been delivered to an
 6    overnight courier. Plaintiff has no obligation to further confirm that the notice was
 7    successfully delivered or to re-send any notice that is returned as undeliverable for
 8    any reason. Plaintiff shall file a declaration attesting to its compliance with this
 9    Paragraph 6 no later than 5:00 p.m. on August 21, 2017.
10          7.     Plaintiff shall include a copy of this Order in any correspondence it
11    sends to any person or entity it believes is acting in active concert or participation
12    with any of Defendants.
13          8.     Plaintiff may apply to this Court for modifications of this Temporary
14    Restraining Order as appropriate.
15
16          IT IS SO ORDERED
17    Entered this 18th day of August, 2017.
18
19
20                                                   _______________________________
                                                     Hon. André Birotte Jr.
21
                                                     United States District Judge
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      [PROPOSED] TEMPORARY RESTRAINING ORDER                                          -8-
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